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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


 THE MCDONNEL GROUP, LLC

        Plaintiff,
                                                       Case No. 2:18-cv-01380-JTM-JCW
 v.
                                                       Section: H             Division: 2
 STARR SURPLUS LINES INSURANCE
 COMPANY AND LEXINGTON                                 Judge: Jane Triche Milazzo
 INSURANCE COMPANY
                                                       Magistrate Judge: Joseph C. Wilkinson
        Defendants.


   EX PARTE MOTION FOR EXPEDITED CONSIDERATION OF DEFENDANTS’
       MOTION TO STRIKE EXHIBITS L AND M FROM THE JUNG, LLC’S
  OPPOSITION TO DEFENDANTS’ FIRST MOTION FOR SUMMARY JUDGMENT

       COME NOW, Defendants Starr Surplus Lines Insurance Company (“Starr”) and

Lexington Insurance Company (“Lexington”) (collectively “Defendants”) and file this Ex Parte

Motion for Expedited Consideration of Defendants’ Motion to Strike Exhibits L and M from The

Jung, LLC’s Opposition to Defendants’ First Motion for Summary Judgment.

       Defendants noticed their Motion to Strike [ECF No. 115] for submission on March 13,

2019, which is the next available submission date before the Court. This submission date is

fourteen (14) days after submission of Defendants’ First Motion for Summary Judgment [ECF No.

110], which is set to be submitted on February 27. The relief sought in Defendants’ Motion to

Strike directly pertains to certain exhibits attached to The Jung, LLC’s (“Jung”) Opposition to

Defendants’ First Motion for Summary Judgment [ECF No. 113], including the admissibility of

same. Because the Motion to Strike seeks relief regarding filings that will be submitted to the Court

on February 27, Defendants respectfully request that the Court grant this Motion and consider
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Defendants’ Motion to Strike before March 13, 2019, the date the Motion to Strike would

otherwise be submitted.

       Respectfully submitted this the 22nd day of February, 2019.

                                              Starr Surplus Lines Insurance Company
                                              And Lexington Insurance Company


                                              BY:     /s/ Lee Ann Thigpen
                                                      Lee Ann Thigpen


OF COUNSEL:

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Attorneys for Defendants Starr Surplus Lines Insurance Co.
and Lexington Insurance Company




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

was filed electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to counsel of record by operation of the Court’s electronic filing system.

       This the 22nd day of February, 2019.

                                              /s/ Lee Ann Thigpen
                                              Lee Ann Thigpen
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